Case 2:12-cv-00923-LRH-GWF Document 28-3 Filed 07/19/12 Page 1 of 3




                      EXHIBIT 1
             Case 2:12-cv-00923-LRH-GWF Document 28-3 Filed 07/19/12 Page 2 of 3



1. MESSAGE SENT TO sunporno.com on 2012-07-13 12:00:06

July 13, 2012, 12:00 pm
To: dmca.alliance@gmail.com

Gentlemen,

I am acting on behalf of LIBERTY MEDIA HOLDINGS, LLC D/B/A CORBIN FISHER, a membership
website whose copyrighted material recently appeared on your filesharing service available for download
publicly with no compensation offered to LIBERTY MEDIA HOLDINGS, LLC D/B/A CORBIN
FISHER. I can be reached as Peter K. Phinney (agent for LIBERTY MEDIA HOLDINGS, LLC D/B/A
CORBIN FISHER), 2785 Pacific Coast Highway, Suite 130, Torrance, CA 90505, phone: (310) 948-
5359, email: peter_pg@pornguardian.com.

Copyrighted work belonging to LIBERTY MEDIA HOLDINGS, LLC D/B/A CORBIN FISHER has
been infringed, including video production films featuring various performers created by LIBERTY
MEDIA HOLDINGS, LLC D/B/A CORBIN FISHER over a period of several months and including (but
not limited to) the following:

Multiple Copyrighted Works Belonging to Amateur College Men


These copyrighted works are currently being offered for download on your site through the following
URLs:

http://www.sunporno.com/tube/videos/85140/gay-college-dude-got-a-killer-bj-from-his-boyfriend.html
http://www.sunporno.com/tube/videos/85146/handsome-teen-gay-dude-jerks-off-his-fat-schlong.html
http://www.sunporno.com/tube/videos/85148/cute-blonde-twink-shows-off-his-muscular-body.html
http://www.sunporno.com/tube/videos/81610/good-looking-gay-boys-having-sex-in-their-bedroom.html
http://www.sunporno.com/tube/videos/81613/tattooed-gay-twink-nails-his-lover\\'s-shaved-asshole.html
http://www.sunporno.com/tube/videos/81334/strong-and-cute-gay-teen-shows-his-fantastic-body.html
http://www.sunporno.com/tube/videos/81311/hot-twink-got-his-gaping-ass-drilled-by-thick-prick.html
http://www.sunporno.com/tube/videos/81306/cute-teen-guys-playing-video-games-and-fucking.html
http://www.sunporno.com/tube/videos/81110/good-looking-gay-twink-nailed-his-boyfriend-on-the-
sofa.html
http://www.sunporno.com/tube/videos/81105/cuter-gay-twink-jerks-off-his-meat-rod.html
http://www.sunporno.com/tube/videos/81107/two-handsome-twinks-fucking-hard-in-the-bedroom.html
http://www.sunporno.com/tube/videos/81108/good-looking-gay-twink-got-his-ass-pounded.html
http://www.sunporno.com/tube/videos/81102/cute-and-strong-gay-stud-got-his-shaft-licked-clean.html
http://www.sunporno.com/tube/videos/81103/pretty-gay-stud-got-his-butt-crack-brutally-pounded.html
http://www.sunporno.com/tube/videos/81104/handsome-gay-hunk-jerks-off-his-hard-boner.html
http://www.sunporno.com/tube/videos/80453/muscular-gay-boy-passionately-jerks-off-his-huge-dong.html
http://www.sunporno.com/tube/videos/80443/cute-and-muscular-gay-dude-jerks-off-his-big-prick.html
http://www.sunporno.com/tube/videos/80444/muscular-gay-twink-passionately-masturbates.html
http://www.sunporno.com/tube/videos/80445/foxy-gay-twink-masturbates-passionately-in-the-office.html
http://www.sunporno.com/tube/videos/80425/hot-gay-hunk-masturbates-passionately-in-the-bathroom.html
            Case 2:12-cv-00923-LRH-GWF Document 28-3 Filed 07/19/12 Page 3 of 3
I would like to request that you please immediately remove these links and the associated files from your
server(s) because the listings facilitate piracy in violation of the DMCA. I have a good faith belief that use
of the aforementioned material is not authorized by the copyright owner Marc Randazza, LIBERTY
MEDIA HOLDINGS, LLC D/B/A CORBIN FISHER, its agents, or the law. I certify by my electronic
signature below that the information in this notice is accurate, under penalty of perjury. Thank you in
advance for your prompt action on this notice of infringement. Respectfully submitted this 13th day of July,
2012 in Los Angeles County California, via electronic mail.

Sincerely, and thank you in advance for complying with the DMCA -
Peter K. Phinney
Acting on behalf of LIBERTY MEDIA HOLDINGS, LLC D/B/A CORBIN FISHER

Cc: LIBERTY MEDIA HOLDINGS, LLC D/B/A CORBIN FISHER
